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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


    UNITED STATES OF AMERICA,
                                                       Case No. 18-20072-2
              Plaintiff,
                                                  SENIOR UNITED STATES DISTRICT
                  v.                                JUDGE ARTHUR J. TARNOW

      MOHAMED BELAKHDHAR,
                                                  MAGISTRATE JUDGE ANTHONY P.
             Defendant.                                      PATTI



                                      /

     ORDER GRANTING DEFENDANT’S MOTION TO SUPPRESS EVIDENCE [20]

      On February 6, 2018, Defendant Mohamed Belakhdhar was charged with

Conspiracy to Possess with Intent to Distribute and to Distribute Controlled

Substances in violation of 21 U.S.C. §§ 846, 841(a)(1). On April 2, 2018, Mr.

Belakhdhar filed a Motion to Suppress Evidence [20]. The Government filed a

Response [22] on May 4, 2018. The Court held a hearing on the Motion on May 15,

2018 at which it requested supplemental briefing.

      Because the stop of Mr. Belakhdhar’s vehicle was not supported by probable

cause or reasonable suspicion of criminal activity, his Motion to Suppress [20] is

GRANTED.
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                                STATEMENT OF FACTS

         On January 23, 2018, Michigan State Police Trooper, Michael Daniels, was

patrolling the freeway on I-94 in a marked patrol vehicle. It was drizzling, cold, and

windy. That morning, Daniels was contacted by his supervisor, Sergeant Patino,

regarding a DEA investigation. The DEA had advised Sgt. Patino that it had received

a tip from a Confidential Informant (“CI”) one day prior, that a person named Henry

Soto would be transporting a large quantity of heroin in a Toyota Camry from

Chicago to Detroit.

         On the morning of January 23, 2018, DEA team members were stationed on

I-94 to perform surveillance to locate the Camry. The DEA identified a black Camry,

with an Illinois license plate, heading east on I-94. The DEA also observed a second

vehicle, a Toyota RAV-4, traveling at approximately the same speed, and changing

lanes at the same time, as the Camry. The RAV-4 had a temporary Illinois license

plate.

         Prior to locating the Camry, the DEA did not have any information to suggest

that the Camry would be traveling with another vehicle. However, based on the fact

that the Camry and RAV-4 were driving “in tandem,” the DEA concluded that the

drivers of the two cars were working together. As a result, the DEA contacted the




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Michigan State Police and requested that traffic stops be conducted on both the

Camry and the RAV-4.

      Sgt. Patino instructed Trooper Daniels to stop the RAV-4. At approximately

9:48 AM, Daniels located the RAV-4 traveling eastbound on I-94. When Daniels

first observed the RAV-4, the car was traveling at the 70 mph speed limit. Daniels

pulled up next to the RAV-4 and continued to drive alongside the vehicle to “observe

the occupants and to make sure that it was the correct vehicle.” Hr’g Tr. 32:12-13,

May 15, 2018. The RAV-4 slowed down as Daniels pulled up next to it. Daniels then

got behind the vehicle. At that point, the RAV-4 was traveling at 53 mph. Daniels

turned on his lights to effectuate a stop. Daniels testified that he “pulled the vehicle

over because it was part of the investigation and also did have a clear traffic violation

that [he] observed.” Id. at 33:1-2.

      After stopping the RAV-4 near exit 133 on I-94, Daniels approached the

vehicle and spoke with the driver, Defendant Mohamed Belakhdhar. There was also

a passenger, Amber Johnson, in the vehicle. Both parties provided identification to

Daniels. Mr. Belakhdhar indicated that he was traveling from Chicago to Detroit to

visit someone in the hospital. Daniels asked to search the vehicle, to which Mr.

Belakhdhar consented. The search did not reveal any contraband. Daniels released

the vehicle and Mr. Belakhdhar continued heading east to Detroit.

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      The DEA maintained surveillance on the RAV-4. After Daniels concluded the

traffic stop, Shawn Koltuniak, a Border Patrol Agent who works with the DEA task

force, ran an immigration search on the ID Mr. Belakhdhar provided to Daniels.

Based on that database search, the DEA determined Mr. Belakhdhar did not have

lawful immigration status. The DEA communicated this information to Border

Patrol and requested that a Border Patrol agent stop the RAV-4 “on the immigration

bounce,” id. at 28:20-22, should an agent observe the vehicle.

      Around approximately 11:30 AM, Border Patrol Agent, Benjamin Wolf,

received information from his supervisor that an illegal alien was driving a RAV-4

with a temporary Illinois plate. At 1:00 PM, Agent Wolf located the RAV-4 exiting

I-375 in Detroit. Agent Wolf performed a vehicle stop based on the suspected

immigration violation. Border Patrol Agent Daniel Reed, who was driving in a

separate marked vehicle behind Agent Wolf, assisted with the stop.

      Mr. Belakhdhar gave Agent Wolf his Illinois state ID. Upon Wolf’s request,

Mr. Belakhdhar told Wolf that he was a citizen of Tunisia. Wolf conducted a records

check which revealed that Mr. Belakhdhar’s 2009 application for lawful

immigration status had been denied. Wolf then performed a fingerprint check to

confirm that, in 2000, Mr. Belakhdhar entered the United States on a visa which had

since expired.

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        While Wolf was questioning Mr. Belakhdhar about his immigration status,

Agent Reed asked to conduct a canine search of the RAV-4. Mr. Belakhdhar

declined. Reed proceeded to walk the dog around the exterior of the vehicle. The

dog alerted to the back bumper. Reed, along with a DEA agent on the scene, removed

all items from the trunk and spread them out to allow for the dog to sniff each item

individually. The dog alerted to a microwave box which contained a microwave. The

agents opened the microwave and found two kilograms of heroin. The agents

arrested Mr. Belakhdhar and transported him to the DEA for processing.

                                    ANALYSIS

        The Fourth Amendment protects against unreasonable searches and seizures.

U.S. Const. Amend. IV. “An ordinary traffic stop by a police officer is a ‘seizure’

within the meaning of the Fourth Amendment.” United States v. Blair, 524 F.3d 740,

748 (6th Cir. 2008) (citing Delaware v. Prouse, 440 U.S. 648, 653 (1979)). To

lawfully stop a vehicle, an officer must have either probable cause of a traffic

violation or reasonable suspicion of ongoing criminal activity. Id. The exclusionary

rule requires suppression of evidence seized during or following an illegal stop.

United States v. Lyons, 687 F.3d 754, 763 (6th Cir. 2012) (citing Blair, 524 F.3d at

748).

I.      Trooper Daniels did not have probable cause to believe Mr. Belakhdhar
        had committed a traffic violation
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      Mr. Belakhdhar argues that the first stop on I-94 was invalid because it was

pretextual. Mr. Belakhdhar contends that Trooper Daniels stopped him not for a

traffic violation, but for suspected drug activity at the request of the DEA. The

Government argues that because Trooper Daniels observed Mr. Belakhdhar commit

a traffic violation – driving 2 mph below the minimum speed limit – he had a lawful

basis for the stop and, as such, his subjective intent to stop Mr. Belakhdhar for

suspected drug activity is irrelevant.

    “[T]he legality of a traffic stop turns on the validity of the officers’ objective

explanation for making the stop, not on the subjective intentions of the officers in

initiating the stop.” United States v. Herbin, 343 F.3d 807, 809 (6th Cir. 2003) (citing

Whren v. United States, 517 U.S. 806, 806 (1996)). Consequently, where an officer

stops a person based on probable cause to believe he has committed a traffic

violation, the stop may not be rendered invalid “on the ground that the officer[]

stopped the car for ‘pretextual’ reasons.” Id.

      In this case, when Daniels spotted the RAV-4 on I-94, Mr. Belakhdhar was

driving the speed limit and was otherwise in compliance with the traffic code.

Daniels was in a marked patrol car. Only after Daniels pulled up alongside the RAV-

4 to examine the driver, and ultimately fell behind the RAV-4 to continue to follow

it, did Mr. Belakhdhar slow his speed to 53 mph.
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      The Government maintains that Daniels was justified in pulling over Mr.

Belakhdhar because he observed him drive 53 mph on a section of I-94 in which the

minimum posted speed limit was 55 mph.

      This argument is unavailing, where, as here, the officer himself created the

alleged traffic violation to justify the stop of the vehicle. See United States v. Jorge

Nieblas-Cordova, No. CR071460TUCFRZHCE, 2008 WL 4368934, at *5 (D. Ariz.

Sept. 24, 2008) (citing United States v. Sigmond-Ballesteros, 285 F.3d 1117, 1124

(9th Cir. 2002)). Mr. Belakhdhar slowed down only after he saw a marked patrol car

driving next to him for nearly one minute, operated by an officer in uniform peering

into his vehicle. Had Daniels not pulled up alongside Mr. Belakhdhar, presumably,

he would have continued to drive the speed limit.

      Furthermore, even if Daniels hadn’t created the alleged violation on which he

bases the stop, the Michigan Vehicle Code does not prohibit Mr. Belakhdhar’s

conduct. M.C.L. § 257.627(1) provides: “A person operating a vehicle on a highway

shall operate that vehicle at a careful and prudent speed not greater than nor less than

is reasonable and proper, having due regard to the traffic, surface, and width of the

highway and of any other condition existing at the time.”

      The presence of a marked state police vehicle, especially one that is moving

at a high speed immediately adjacent to a civilian-driver, is a condition on which it

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is entirely reasonable and proper for the driver to rely upon when choosing to operate

his vehicle below the minimum speed limit. See United States v. Coronado, 480 F.

Supp. 2d 923, 928 (W.D. Tex. 2007) (noting that “[i]t is neither abnormal nor

dangerous driving behavior for a driver to slow down with the approach of a law-

enforcement vehicle.”). Surely, most responsible drivers slow down when they see

an ambulance, fire truck, or police car on the highway. Not only is it sensible, it is

the safest thing to do to avoid obstructing the vehicle in the event of an emergency.

       Because Mr. Belakhdhar was driving in compliance with the Michigan

Vehicle Code, and because any suspected violation of the Code was caused by the

State Trooper himself, the Government’s attempt to rely on the alleged traffic

violation as a justification for the stop is futile.

   II. Law enforcement did not have reasonable suspicion to believe Mr.
       Belakhdhar was engaged in drug activity

       “The Fourth Amendment permits brief investigative stops—such as the traffic

stop in this case—when a law enforcement officer has ‘a particularized and objective

basis for suspecting the particular person stopped of criminal activity.’” Navarette

v. California, 134 S. Ct. 1683, 1687 (2014). “The officer ‘must be able to articulate

something more than an inchoate and unparticularized suspicion or hunch.’” United

States v. Jones, 673 F.3d 497, 502 (6th Cir. 2012) (citing United States v. Sokolow,

490 U.S. 1, 7 (1989)). “Based upon [the totality of the circumstances,] the detaining
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officers must have a particularized and objective basis for suspecting the particular

person stopped of criminal activity.” United States v. Cortez, 449 U.S. 411, 417–18

(1981). “Pertinent circumstances include the officer’s own direct observations,

dispatch information, [and] directions from other officers[.]” Lyons, 687 F.3d at 763

(internal citation omitted).

     Seeing as it is undisputed that Daniels was authorized to conduct a stop based

on information from the DEA, see id. at 765-66, the issue before the Court is

whether, based on the totality of the circumstances, the officers collectively had

reasonable suspicion to justify the stop.

     The Government highlights the investigation of Henry Soto and his

involvement with suspected drug activity as grounds for reasonable suspicion of Mr.

Belakhdhar. However, the Government overlooks the fact that until the DEA agents

witnessed the Camry and the RAV-4 driving in tandem, law enforcement had no

reason to suspect that Mr. Belakhdhar had been involved any criminal activity. The

CI did not mention Mr. Belakhdhar’s name, nor did he say that Henry Soto might be

traveling with someone.

     Essentially, the Government piggy-backs the justification for the stop of the

RAV-4 on the justification for the stop of the Camry. But, this runs contrary to the

Supreme Court’s instruction on particularity – the officer must provide a basis for

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suspecting Mr. Belakhdhar, not Henry Soto, of criminal activity. Mr. Belakhdhar’s

“mere propinquity” to Henry Soto on I-94 “does not, without more, give rise to

probable cause” or reasonable suspicion. See Ybarra v. Illinois, 444 U.S. 85, 91

(1979) (internal citation omitted).

     The Court considers the following circumstances in its analysis of the legality

of the stop of the RAV-4 on I-94:1 Upon tracking the Camry on I-94, the DEA agents

observed a RAV-4, changing lanes with the Camry at a distance of a few car lengths

apart, for an unspecified period of time.2 The RAV-4 had a temporary Illinois license

plate. The RAV-4 was operating in compliance with the traffic code, until a

uniformed state trooper in a marked patrol vehicle pulled up next to it. The RAV-4

slowed down when it saw the marked police vehicle. This took place at 9:48 AM on

January 23, 2018, when it was cold, windy, and drizzling.

     The Government relies on United States v. Sharpe, 470 U.S. 675 (1985) to

support its argument that the fact that the RAV-4 was traveling in tandem with the



1
  For purposes of this Motion, the Court assumes that the DEA had reliable
information that Henry Soto was transporting drugs in a Toyota Camry from
Chicago to Detroit, and therefore, had reasonable suspicion to believe Henry Soto
was involved in criminal activity.

2
 In its brief, the Government submits that the Camry and the RAV-4 were traveling
in tandem for 20 minutes; however, the testimony at the hearing does not support
this assertion.
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Camry gave the officers reasonable suspicion that the two vehicles were working

together.3 However, tandem driving with a vehicle suspected of drug activity, alone,

is an insufficient basis for reasonable suspicion. See United States v. Carrillo-

Alvardo, 558 F. App’x 536, 543 (6th Cir. 2014); see also United States v. Espino-

Urvan, No. 12 CR 337 LTS, 2013 WL 2255953, at *6 (S.D.N.Y. May 21, 2013)

(internal citations omitted) (noting that “[i]n most other cases in which a court has

held that the fact that two vehicles were traveling ‘in tandem’ provided probable

cause for the arrest of a driver or the seizure of evidence, there were other facts cited

in support of the probable cause determination.”); United States v. Vargas-Calva, 9

F.3d 1555 (9th Cir. 1993) (“The fact that vehicles are travelling in tandem may

support a finding of reasonable suspicion, but only in combination with other

probative factors.”).

     In Carillo-Alvarado, the Louisville Police received a reliable tip that a tractor-

trailer carrying marijuana would be delivered to an auto-shop. Id. at 538. The officers

began surveillance on the auto-shop and witnessed containers being unloaded. Id. at

539. Thereafter, the officers saw two white cargo vans, two minivans, and a sedan



3
 In Sharpe, the Supreme Court noted that there was sufficient reasonable suspicion
to justify the stop where the agent observed the defendant’s camper, which had its
windows covered with bed sheets, driving in tandem with another vehicle in a high
crime area. Id. at 728 fn.3.
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leaving the shop. Id. The officers followed the vehicles and observed the defendant’s

minivan driving in tandem with one of the cargo vans over the course of a few miles.

Id. at 540. When the officer signaled for the defendant to pull over, he continued

driving for a quarter of a mile. Id. The officer searched the minivan and discovered

2.5 kilograms of marijuana. Id.

     The defendant filed a motion to suppress the evidence seized on the grounds

that the officer lacked reasonable suspicion to stop his vehicle, which the district

court denied. Id. at 541. In affirming the district court’s ruling, the Sixth Circuit

explained that, taken together, the informant’s tip, two-year investigative history,

unloading of the trailer at night at a suspected drug distribution location, and vehicles

driving in tandem fulfilled the reasonable suspicion requirement. Id. at 543.

     Similar to Carillo-Alvardo, the Court considers tandem driving as one factor

among many in its determination of whether the officers had reasonable suspicion.

However, the additional factors which supported the Court’s ruling in Carillo-

Alvarado are not present here. Unlike Carillo-Alvarado, where law enforcement had

been investigating for two-years, in this case, the DEA had been conducting its

investigation for only one day prior to apprehending a suspect. More importantly

perhaps, the officers in Carillo-Alvarado saw the defendant’s car leave the auto-shop

– a suspected drug distribution location – at night, whereas here, the DEA first

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identified Mr. Belakhdhar’s car driving on a busy highway during the day, primarily

on the basis that it had been changing lanes with the Camry. Furthermore, that the

RAV-4 had a temporary Illinois plate carries little weight, since vehicles with

temporary Illinois plates travel on I-94 every day.

     Considering the totality of the circumstances, the Court cannot conclude that

the officers had reasonable suspicion that the RAV-4 was engaged in drug trafficking

activity. The Government impermissibly uses tandem driving as the primary basis

for the stop, piling hunch upon hunch to support its argument that the seizure of Mr.

Belakhdhar was lawful. See Carrillo-Alvardo, 558 F. App’x at 543 (noting that

tandem driving was neither the primary nor the only basis for the stop). Ultimately,

Mr. Belakhdhar was stopped and searched – twice – based on a hunch that he could

be involved in criminal activity with Henry Soto.

                                    CONCLUSION

     The first stop of Mr. Belakhdhar’s RAV-4 on I-94 was unreasonable because

the officers had neither probable cause of a traffic violation nor reasonable suspicion

to believe he was engaged in criminal activity. Because the seizure of his vehicle

violated Mr. Belakhdhar’s rights under the Fourth Amendment, the evidence




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obtained from the second stop of his vehicle in Detroit is inadmissible as fruit of the

poisonous tree.4 See Wong Sun v. United States, 371 U.S. 471, 484-85 (1963).

      Accordingly,

      IT IS ORDERED that Defendant’s Motion to Suppress Evidence [20] is

GRANTED. The evidence seized by the DEA and Border Patrol on January 23,

2018 cannot be used at trial against Defendant Mohamed Belakhdhar.

      SO ORDERED.


                                        s/Arthur J. Tarnow
                                        Arthur J. Tarnow
Dated: July 3, 2018                     Senior United States District Judge




4
 Because the first stop of Mr. Belakhdhar was unlawful, the Court, does not, and
need not, address the legality of the second stop by Border Patrol.
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